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                   IN THE UNITED STATES DISTRI 9.T .OOURT
                  FOR THE SOUTHERN DISTRICT OF `GEORGI A
                            SAVANNAH DIVISIO N
                                                       Z'n !T 12, A lI= 1 3


UNITED STATES OF AMERICA


      v.                                   : CASE NO . : CR406-30 9


RANDY S . LENTZ,
REBECCA J . LENTZ,
SCOTT T. BOWLIN,
KIM A. BOWLI N



            MAGISTRATE JUDGE'S REPORT AND RECOMMENDATIO N

      Defendants Scott T . Bowlin and Kim A. Bowlin ("Bowlins") have filed a Motion to

Suppress (Doc . No . 37), and the Government has filed a Response (Doc . No . 68). For

the following reasons, the Bowlins' Motion should be DENIED .

                             STATEMENT OF THE CAS E

      On August 13, 2005, a federal agent served a subpoena duces tecum on Total

Rehab and Wellness, ordering the production of documents to the Grand Jury on

September 15, 2005 . (Doc . No . 37, p . 5) . According to Defendant Kim Bowlin, "the

agent told her that she could provide the documents then and he would relieve her of

the obligation to appear before the grand jury ." (Doc . No . 37, p . 1) . The documents

were produced to the Government that day, and the Bowlins subsequently filed this

Motion to Suppress the evidence produced .

       In their Motion to Suppress, the Bowlins contend that the August 2005 service of

the subpoena was an unlawful search and seizure in violation of the Fourth
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Amendment, and assert that all documents seized by the Government during the

subpoena's service should be suppressed . The Bowlins allege that the subpoena in

question became a "forthwith subpoena for which the agent wrongfully coerced

Defendant Kim Bowlin to turn over the requested documents immediately ." (Doc . No.

37, p. 2) . The Bowlins contend that the subpoena violated the Fourth Amendment's

prohibition against unreasonable searches and seizures because agents treated the

subpoena as though it were a search warrant, demanding the immediate surrender of

evidence .

        Conversely, the Government contends that service of the subpoena in question

did not implicate the Bowlins' Fourth Amendment rights . The Government asserts that

the Bowlins have no legitimate expectation of privacy in the medical records of third

parties, which are documents required by administrative regulation to be available for

inspection . The Government further asserts that the Fourth Amendment itself is

arguably inapplicable to the service of a valid subpoena in a criminal case, and if

applicable at all only operates to protect against overbroad document requests . (Doc.

No . 68, p . 6) . Thus, the Government asserts, the documents produced by the Bowlins

on August 13, 2005 should not be suppressed . '

                         DISCUSSION AND CITATION TO AUTHORIT Y

        The Fourth Amendment protects "[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures . . .


1 The Government also argues that the Bowlins fail to comply with Local Criminal Rule 12 .1, which
requires that "[e]very factual assertion in a motion, response, or brief shall be supported by a citation to
the pertinent page in the existing record or in any affidavit, discovery material, or other evidence filed with
the motion . Where allegations of fact are relied upon that are not supported by the existing record,
supporting affidavits shall be submitted ." S,D . Ga . Crim . R . 12 .1 . However, the Court finds Defendant
Kim Bowlin's affidavit affirming the factual allegations of her Motion to Suppress (Doc, No . 63) sufficient
support under the rule .


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   U.S . CONST . AMEND . IV. "The Amendment p ro tects persons against unreasonable

searches of their `persons [and ] houses' . . . ." Minnesota v . Carter , 525 U . S. 83, 88, 119

S. Ct. 469, 473, 142 L . Ed . 2d 373 (1998) .

       The subpoena to which the Bowlins object reads in pertinent pa rt:

       You are hereby commanded to appear and testify before the Grand Ju ry
       of the United States District Cou rt . . . . You are also commanded to bring
       with you the following document (s) or object (s): Any and all records to
       include all medicare and medicaid billing records , patient files , and all
       other materials relating to billing records and services provided to all
       patients for the time period September 1, 2004 through the present . If you
       furnish this information to [the special agent ] prior to the date for
       production of these documents , you will not be required to appear before
       the grand ju ry.

(Doc. No. 37, p. 5). Defendant Kim Bowlin apparently chose to allow the agent to seize

the requested documents upon service of the subpoena , thus doing away with her

obligation to appear before the grand ju ry with the evidence .

       The Bowlins contend that In re Nwamu , 421 F . Supp . 1361 (S .D.N .Y. 1976), is

instructive on the issue of whether the service of such a "forthwith subpoena"

constitutes an unreasonable "seizure " under the Fourth Amendment . There, the court

found that an FBI agent acted in violation of the Fou rth Amendment when he demanded

the immediate production of documents at the time of serving a subpoena . The court

characterized the government ' s action as a seizure , finding that the agents "treated the

subpoena as though it were a search warrant calling for the immediate production and

surrender of the documents to the agents on the spot and proceeded to enforce it with

threats of contempt ." Id . at 1365. Indeed , the record in that case revealed that upon

service of the subpoena, the agent instructed that "the records should be produce d




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immediately" and that if they were not, the individual "would be in contempt of court ." Id.

at 1363 .

        While the Bowlins contend that In re Nwamu is "of substantial similarity" to the

case sub judice, it is instead obviously distinguishable . While the agents in Nwamu

confronted the individuals with "threats" of contempt, there is no evidence that such was

the case here . The extent of Ms . Bowlin's allegation is first, that Agent Westall

instructed her that production of the documents to him would relieve her of the

obligation to appear before the grand jury, and second, that she had to prevent the

agents from removing the filing cabinet containing the records . This action hardly

parallels the threats and coercion used by the agents in Nwamu . Additionally, Agent

Westall did not "take it upon himself' to excuse Ms . Bowlin's appearance before the

grand jury . Instead, the subpoena itself, issued by the Court, instructed that immediate

production excused personal appearance . (Doc. No . 37, p . 5) . Nothing alleged by Ms .

Bowlin raises the agent's behavior to a level that would violate the Fourth Amendment's

search and seizure protection S. 2




2 The Government's Response is primarily devoted to the argument that the Bowlins have no legitimate
expectation of privacy in the documents at issue . The Government asserts what may be called the
"required records" doctrine, which holds that there can be no reasonable expectation of privacy in
documents that are required by administrative regulation to be retained and available for inspection . See
In re Grand Jury Proceedings , 601 F .2d 162 (5th Cir . 1979) . The Government, however, fails to set forth
what, if any, administrative regulation requires the retention and availability of the records at issue here .
Regardless , it is unnecessary to address that argument at this time . Because this Court finds that service
of the subpoena in question was not a " seizure ," the Bowlins' Fourth Amendment rights would not have
been violated even given a reasonable expectation of privacy in the documents that would trigger the
Amendment's protections .


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      For the forgoing reasons, it is RECOMMENDED that Defendants Scott and Kim

Bowlin's Motion to Suppress be DENIED.

      So REPORTED and RECOMMENDED this y of June, 2007 .




                                          MES E . GRAHAM
                                         NITED STATES MAGISTRATE JUDG E




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